                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR98-2017-MWB
 vs.                              MEMORANDUM OPINION AND
                                       ORDER REGARDING
 LELAND DUANE YOUNG,                DEFENDANT’S MOTION TO
                                VACATE, SET ASIDE OR CORRECT
          Defendant.                      SENTENCE
                     ____________________


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                      I. INTRODUCTION AND BACKGROUND
       In an indictment returned on July 16, 1998, defendant Leland Duane Young was
charged with conspiracy to distribute and possess with intent to distribute
methamphetamine, in violation of 21 U.S.C. § 846, and using a communication facility to
facilitate the commission of a drug trafficking crime, in violation of 21 U.S.C. § 843(b).
On October 5, 1998, defendant Young signed a written plea agreement and a notarized
affidavit in which he admitted to each element of the charged offenses. Defendant Young
was allowed to remain free on bond pending the plea and sentencing hearing. A combined
plea and sentencing hearing was scheduled for January 21, 1999. Prior to that date,
however, defendant Young absconded from pre-trial supervision and an arrest warrant was
issued for him. On December 19, 1999, a superseding indictment was returned against
defendant Young which added a charge of failure to appear, in violation of 21 U.S.C.
§§ 3146 and 3147. On May 7, 1999, defendant Young was arrested in Omaha, Nebraska,
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and transferred back to the Northern District of Iowa for trial. Following an interlocutory
appeal regarding the government’s use of defendant Young’s affidavit admitting the
elements of crimes charged, see United States v. Young, 223 F.3d 905, 911 (8th Cir.
2000), cert. denied, 121 S. Ct. 1133 (2001) (finding that although affidavit was a statement
made in the course of plea negotiations it was admissible as a knowing and intelligent
waiver of defendant’s rights), defendant Young pleaded guilty to Count 1 of the
superseding indictment, conspiracy to distribute and possess with intent to distribute
methamphetamine, in violation of 21 U.S.C. § 846. On October 30, 2001, defendant
Young was sentenced to 188 months imprisonment.




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           Upon his return, defendant Young secured new legal counsel, Alfredo Parrish.

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       Defendant Young then filed a timely appeal of his sentence. On appeal, defendant
Young asserted that the court erred when it assessed him a two-level increase for
obstruction of justice. See United States v. Young, 315 F.3d 911, 913 (8th Cir.), cert.
denied, 538 U.S. 1044 (2003). He also argued that the court erred when it declined to
grant him a three-level reduction for acceptance of responsibility. Id. Defendant Young
also argued that the court erred when it declined to depart downward in his sentence based
on his pre-sentence confinement, his health, or his age. Id. Finally, defendant Young
asserted that the court was incorrect when it declined to depart downward based on his
claims of ineffective assistance of counsel. Defendant Young’s appeal was denied. See
id. at 915.
       Pursuant to 28 U.S.C. § 2255, defendant Young filed his Motion To Vacate, Set
Aside Or Correct Sentence which is presently before the court. Defendant Young raises
the following claims in his § 2255 motion: (1) that his second attorney, Alfredo Parrish,
was ineffective in erroneously advising him to stipulate to a drug quantity which defendant
Young contends was not supported by the evidence; (2) that Parrish was ineffective in
failing to preserve defendant Young’s right to argue errors under the United States
Supreme Court’s decisions in United States v. Booker, 543 U.S. 220 (2005); and, (3) that
Parrish was ineffective in failing to move for dismissal of the case based on alleged venue
defects.


                                II. LEGAL ANALYSIS
                       A. Standards For Relief Pursuant To § 2255
       The court must first consider the standards applicable to a motion for relief from
sentence pursuant to 28 U.S.C. § 2255. Section 2255 of Title 28 of the United States Code
provides as follows:

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                     A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right to be
              released upon the ground [1] that the sentence was imposed in
              violation of the Constitution or laws of the United States, or
              [2] that the court was without jurisdiction to impose such
              sentence, or [3] that the sentence was in excess of the
              maximum authorized by law, or [4] is otherwise subject to
              collateral attack, may move the court which imposed the
              sentence to vacate, set aside or correct the sentence.
28 U.S.C. § 2255; Bear Stops v. United States, 339 F.3d 777, 781 (8th Cir. 2003) (“To
prevail on a § 2255 motion, the petitioner must demonstrate a violation of the Constitution
or the laws of the United States.”). Thus, a motion pursuant to § 2255 “is ‘intended to
afford federal prisoners a remedy identical in scope to federal habeas corpus.’” United
States v. Wilson, 997 F.2d 429, 431 (8th Cir. 1993) (quoting Davis v. United States, 417
U.S. 333, 343 (1974)); accord Auman v. United States, 67 F.3d 157, 161 (8th Cir. 1995)
(quoting Wilson). On the other hand,
                      Section 2255 relief is not available to correct errors
              which could have been raised at trial or on direct appeal,
              absent a showing of cause and prejudice, United States v.
              Frady, 456 U.S. 152, 167-68, 102 S. Ct. 1584, 1594-95, 71
              L. Ed. 2d 816 (1982), or a showing that the alleged errors
              were fundamental defects resulting in a complete miscarriage
              of justice. See United States v. Smith, 843 F.2d 1148, 1149
              (8th Cir. 1988) (per curiam).
Ramey v. United States, 8 F.3d 1313, 1314 (8th Cir. 1993) (per curiam); accord Johnson
v. United States, 278 F.3d 839, 844 (8th Cir. 2002) (“In order to obtain collateral review
of a procedurally defaulted issue, [a § 2255 movant] must show ‘either cause and actual
prejudice, or that he is actually innocent.’”) (quoting Bousley v. United States, 523 U.S.
614, 622 (1998), with citations omitted).



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       The “cause and prejudice” that must be shown to resuscitate a procedurally
defaulted claim may include “ineffective assistance of counsel.” See Becht v. United
States, 403 F.3d 541, 545 (8th Cir. 2005), cert. denied, 126 S. Ct. 1346 (2006).
Otherwise, “[t]he Supreme Court recognized in Bousley that ‘a claim that “is so novel that
its legal basis is not reasonably available to counsel” may constitute cause for a procedural
default.’” United States v. Moss, 252 F.3d 993, 1001 (8th Cir. 2001) (quoting Bousley,
523 U.S. at 622, with emphasis added, in turn quoting Reed v. Ross, 468 U.S. 1, 16
(1984)). “Actual prejudice” requires a showing that the alleged error “‘worked to his
actual and substantial disadvantage, infecting his entire trial with error of constitutional
dimensions.’” Johnson, 278 F.3d at 844 (quoting United States v. Frady, 456 U.S. 152,
170 (1981), and explaining, further, that the movant must show that there is a substantial
likelihood that, absent the error, a jury would have acquitted him of the charged offense).
To establish “actual innocence,” as an alternative way to resuscitate a procedurally
defaulted claim, a “‘petitioner must demonstrate that, in light of all the evidence, it is more
likely than not that no reasonable juror would have convicted him.’” Id. (quoting Bousley,
523 U.S. at 623). “‘This is a strict standard; generally, a petitioner cannot show actual
innocence where the evidence is sufficient to support a [conviction on the charged
offense].’” Id. (quoting McNeal v. United States, 249 F.3d 747, 749-50 (8th Cir. 2001)).
       The Eighth Circuit Court of Appeals will review the district court’s decision on a
§ 2255 motion de novo, regardless of whether the district court’s decision grants or denies
the requested relief. Compare United States v. Hilliard, 392 F.3d 981, 986 (8th Cir.
2004) (“We review the district court’s decision to grant or deny relief on a petitioner’s
ineffective assistance of counsel claim de novo.”) (citing United States v. White, 341 F.3d
673, 677 (8th Cir. 2003)); with United States v. Hernandez, 436 F.3d 851, 854 (8th Cir.
2006) (“‘We review de novo the district court’s denial of a section 2255 motion.’”), cert.

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denied, 126 S. Ct. 2341 (2006) (quoting Never Misses A Shot v. United States, 413 F.3d
781, 783 (8th Cir. 2005)). However, “[a]ny underlying fact-findings are reviewed for
clear error.’” Hernandez, 436 F.3d at 855 (quoting United States v. Davis, 406 F.3d 505,
508 (8th Cir. 2005)).


                          B. Ineffective Assistance Of Counsel
       The underlying merits of defendant Young’s claims lie in whether defendant Young
can demonstrate ineffective assistance of his counsel. The Sixth Amendment to the United
States Constitution provides that “[i]n all criminal prosecutions, the accused shall enjoy the
right . . . to have the Assistance of Counsel for his defense.” U.S. Const. amend. VI.
Thus, a criminal defendant is constitutionally entitled to the effective assistance of counsel
both at trial and on direct appeal. Evitts v. Lucey, 469 U.S. 387, 396 (1985); Bear Stops
v. United States, 339 F.3d 777, 780 (8th Cir. 2003). By the same token, “ineffective
assistance of counsel” could result in the imposition of a sentence in violation of the
Constitution or laws of the United States. 28 U.S.C. § 2255; Bear Stops, 339 F.3d at 781
(“To prevail on a § 2255 motion, the petitioner must demonstrate a violation of the
Constitution or the laws of the United States.”). The Eighth Circuit Court of Appeals has
expressly recognized that a claim of ineffective assistance of counsel should be raised in
a § 2255 proceeding, rather than on direct appeal, because it often involves facts outside
of the original record. See United States v. Hughes, 330 F.3d 1068, 1069 (8th Cir. 2003)
(“When claims of ineffective assistance of trial counsel are asserted on direct appeal, we
ordinarily defer them to 28 U.S.C. § 2255 proceedings.”). Therefore, the court will
address defendant Young’s specific claims after briefly reviewing the standards for a claim
of ineffective assistance of counsel.



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       1.     Applicable standards
       As the Eighth Circuit Court of Appeals has explained, “‘The applicable law here
is well-established: post-conviction relief will not be granted on a claim of ineffective
assistance of trial counsel unless the petitioner can show not only that counsel’s
performance was deficient but also that such deficient performance prejudiced his
defense.’” Ledezma-Rodriguez, 423 F.3d at 836 (quoting Saunders v. United States, 236
F.3d 950, 952 (8th Cir. 2001), in turn citing Strickland v. Washington, 466 U.S. 668, 687
(1984)); Davis v. Norris, 423 F.3d 868, 877 (8th Cir. 2005) (“To prove that his counsel
rendered ineffective assistance in violation of the Sixth Amendment, [the movant] must
satisfy the two prong test outlined in Strickland v. Washington, 466 U.S. 668, 104 S. Ct.
2052, 80 L. Ed. 2d 674 (1984),” which requires the movant to “show that his counsel’s
performance was deficient” and that he was “prejudice[d]”).
       The “deficient performance” prong requires the movant to “show that his ‘counsel
made errors so serious that counsel was not functioning as the “counsel” guaranteed the
defendant by the Sixth Amendment.’” United States v. Rice, 449 F.3d 887, 897 (8th Cir.
2006) (quoting Strickland, 466 U.S. at 687). That showing can be made by demonstrating
that counsel’s performance “‘fell below an objective standard of reasonableness.’” Wiggins
v. Smith, 539 U.S. 510, 522 (2003) (quoting Strickland, 466 U.S. at 688). There are two
substantial impediments to making such a showing, however. First, “‘[s]trategic choices
made after thorough investigation of law and facts relevant to plausible options are
virtually unchallengeable.’” Rice, 449 F.3d at 897 (quoting Strickland, 466 U.S. at 690).
Second, “[t]here is a ‘strong presumption that counsel’s conduct falls within the wide range
of reasonable professional assistance.’” Id. (quoting Strickland, 466 U.S. at 689); Davis,
423 F.3d at 877 (“To satisfy this prong [the movant] must overcome the strong
presumption that his counsel’s conduct fell within the wide range of reasonable

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professional assistance.”). If the movant fails to show deficient performance by counsel,
the court need proceed no further in its analysis of an “ineffective assistance” claim.
United States v. Walker, 324 F.3d 1032, 1040 (8th Cir. 2003).
       Even if counsel’s performance was deficient, the movant must also establish
“prejudice” to overcome the presumption of reasonable professional assistance. Ledezma-
Rodriguez, 423 F.3d at 836; Davis, 423 F.3d at 877. To satisfy this “prejudice” prong,
the movant must show “‘that there is a reasonable probability that, but for counsel’s
unprofessional errors, the result of the proceeding would have been different . . . [,] a
reasonable probability [meaning] a probability sufficient to undermine confidence in the
outcome.’” Rice, 449 F.3d at 897 (again quoting Strickland, 466 U.S. at 694); Davis, 423
F.3d at 877 (same). Thus, “‘[i]t is not enough for the defendant to show that the errors
had some conceivable effect on the outcome of the proceeding.’” Pfau v. Ault, 409 F.3d
933, 939 (8th Cir. 2005) (quoting Strickland, 466 U.S. at 693). Although the two prongs
of the “ineffective assistance” analysis are described as sequential, courts “do not . . .
need to address the performance prong if petitioner does not affirmatively prove
prejudice.” Boysiewick v. Schriro, 179 F.3d 616, 620 (8th Cir. 1999) (citing Pryor v.
Norris, 103 F.3d 710 (8th Cir. 1997)). The court will now consider defendant Young’s
specific claims of ineffective assistance of counsel.
       2.     Claims of ineffective assistance at issue here
       a.     Stipulation of drug quantity
       Defendant Young contends that his counsel was ineffective in erroneously advising
him to stipulate to a drug quantity, at least one kilogram of methamphetamine, which
defendant Young contends was not supported by the evidence.            Under Eighth Circuit
precedent, a district court is permitted to accept as true all factual allegations contained in
a presentence report that are not specifically objected to by the parties. United States v.

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Townsend, 408 F.3d 1020, 1021 n.2 (8th Cir. 2005); United States v. Allen, 75 F.3d 439,
442 (8th Cir. 1996); United States v. Beatty, 9 F.3d 686, 690 (8th Cir. 1993). A review
of those facts from defendant Young’s 1999 Presentence Investigation Report (“1999
PSIR”) which were not objected to by defendant Young shows defendant Young’s
involvement in a criminal conspiracy to distribute well over 1,000 grams of
methamphetamine. In the fall of 1993, three controlled purchases of methamphetamine
were made by Iowa Division of Narcotics Special Agent Sean McCullough from Becky
Tix. 1999 PSIR at ¶ 22. Subsequently, Tix was approached by law enforcement officers
and agreed to cooperate.      Id.    Tix identified Daryl Waters as her source for
methamphetamine. In addition, Tix identified defendant Young, along with Ann Young
and William Gainer as being Waters’s methamphetamine suppliers. Id. Tix stated that she
had accompanied Waters to Marshalltown, Iowa, to pick up methamphetamine from one
or more of these individuals. Id.
      Tix testified before the grand jury that Waters obtained two to three ounces of
methamphetamine from his suppliers in Des Moines, Iowa, defendant Young and Ann
Young. Id. at ¶ 23. In approximately September or October 1991, Tix became involved
in delivering methamphetamine to various customers of Waters. In approximately January
1992, Tix began accompanying Waters to Marshalltown where Waters met his Des Moines
suppliers of methamphetamine, picking up two to three ounces of methamphetamine each
time. Id. Beginning in August or September 1992, Tix began to make trips alone to
Marshalltown on Waters’s behalf to pick up methamphetamine. Id. Tix testified that she
made approximately five trips, picking up two to three ounces of methamphetamine each
time, for a total of ten ounces. Id. Tix stated that she dropped off two ounces to one
particular customer of Waters on of behalf Waters, and that on another occasion, she
observed Waters drop off three ounces of methamphetamine to this same customer. Id.

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Tix believed that the methamphetamine picked up was cut approximately twenty percent
with Inositol. Id. at ¶ 24. Tix stated that Waters was paying $1,200 per ounce for the
methamphetamine but was charging his customers $1,800 per ounce. Id.
       In the spring and early summer of 1993, three controlled buys of methamphetamine
were made from Waters. Id. at ¶ 25. Information concerning Waters’s drug trafficking
activities were used to obtain a Title III wiretap for Waters’s telephone at his residence in
Evansdale, Iowa. Id. at ¶ 26. A number of telephone calls were overheard during which
incriminating conversations concerning drug trafficking occurred. Id. These calls each
involved defendant Young, Ann Young, and Gainer discussing or making arrangements
to sell methamphetamine to Waters. Id.
       On July 17, 1993, law enforcement officers overheard Waters making plans to meet
Ann Young at the Perkins Restaurant in Marshalltown, Iowa to obtain methamphetamine.
Id. at ¶ 27. Law enforcement officers conducted surveillance during which they observed
Waters meet with Ann Young. Id. Waters subsequently confirmed that he obtained
methamphetamine from Ann Young during this meeting. Id.
       On August 2, 1993, while the wiretap was still in place, law enforcement officers
approached Waters and asked him to cooperate with them. Id. at ¶ 28. Waters confirmed
that defendant Young, Ann Young and Gainer were his suppliers of methamphetamine.
Id. Waters told law enforcement officers that he had obtained methamphetamine from
defendant Young and Ann Young during the period of 1983 through 1993. Id. at ¶ 29.
Waters initially used the methamphetamine he obtained from defendant Young and Ann
Young but, commencing in approximately March 1990, Waters began to purchase resale
amounts of methamphetamine. Id. Initially, Waters obtained .25 to .50 ounces of
methamphetamine to use and to sell to two primary customers. Id. at ¶ 30. Then,
beginning in the summer of 1991, Waters began obtaining three ounces of

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methamphetamine at a time from defendant Young, Ann Young, and Gainer. Id. at ¶ 31.
Waters obtained methamphetamine from defendant Young, Ann Young, and Gainer once
per week.     Id.    On one or two occasions, Waters obtained three ounces of
methamphetamine twice in the same week. Id. Defendant Young, Ann Young, and
Gainer refused to sell more than three ounces at a time to Waters because, as they told
Waters, anything more than three ounces at a time made it “federal.” Id.
      In addition, defendant Young’s 2001 Presentence Investigation Report (“2001
PSIR”) indicates that he stipulated in his plea agreement to the following:
             Between about 1990 and 1993 defendant had an agreement or
             understanding with Ann Young, William Gainer, Daryl Waters
             and others to distribute and possess with intent to distribute
             methamphetamine.
                    ...
             Defendant and his co-conspirators generally sold Waters up to
             three ounces of methamphetamine at a time. The defendant
             understood that at least some of this methamphetamine was
             transported back to the Waterloo, Iowa, area and sold by
             Daryl Waters.
2001 PSIR at ¶¶ 29, 32.
      As a member of a criminal conspiracy, defendant Young was responsible not only
for "all acts and omissions committed, aided, abetted, counseled, commanded, induced,
procured, or wilfully caused" by him, U.S.S.G. § 1B1.3(a)(1)(A), but also for all
“‘reasonably foreseeable acts and omissions of others in furtherance of the jointly
undertaken criminal activity.”“ United States v Cordova, 157 F.3d 587, 599 (8th Cir.
1998) (quoting U.S.S.G. § 1B1.3(a)(1)(B)). So long as the activities of defendant Young’s
co-conspirators were part of the same course of conduct or common scheme or plan, those
activities may be attributed to him for sentencing purposes. See United States v. Spence,
125 F.3d 1192, 1195 (8th Cir. 1997). Because Waters’s information established a

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conspiracy, in which defendant Young was an active member and in which over eight
kilograms of methamphetamine was distributed, defendant Young’s counsel’s advising him
to stipulate to a drug quantity far less, at least one kilogram of methamphetamine, was
clearly neither deficient performance nor was it prejudicial to defendant Young.
Therefore, this portion of defendant Young’s § 2255 motion is denied.
       b.     Booker Claims
       Defendant Young next contends that his counsel was ineffective in failing to
preserve alleged errors under United States v. Booker, 543 U.S. 220 (2005). Because the
United States Supreme Court’s decision in Booker had not been decided at the time of
defendant Young’s guilty plea, his counsel could not be expected to be clairvoyant and
make divinations about the future state of the law. Federal courts have rejected ineffective
assistance claims predicated on counsel's failure to predict passage of future law because
"[c]lairvoyance is not a required attribute of effective representation." United States v.
Gonzalez-Lerma, 71 F.3d 1537, 1541-42 (10th Cir. 1995). There is a distinction between
"the failure of an attorney to be aware of prior controlling precedent--which might render
counsel's assistance ineffective--from the failure of an attorney to foresee future
developments in the law." Id. at 1542. Moreover, because this case was not pending on
direct review when Booker was decided, defendant Young’s counsel’s failure to preserve
alleged errors under Booker did not prejudice defendant Young. This is because every
federal court of appeals, including the Eighth Circuit Court of Appeals, to have considered
the issue of retroactivity, has held that Booker does not apply retroactively to cases on
collateral review. See United States v. Hernandez, 436 F.3d 851, 855 (8th Cir.), cert.
denied, 126 S. Ct. 2341 (2006); Never Misses A Shot v. United States, 413 F.3d at 781,
783 (8th Cir. 2005); see also In re Zambrano, 433 F.3d 886, 889 (D.C. Cir. 2006);
United States v. Gentry, 432 F.3d 600, 606 (5th Cir. 2005); United States v. Morris, 429

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F.3d 65, 72 (4th Cir. 2005), cert. denied, 127 S. Ct. 121 (2006); United States v.
Bellamy, 411 F.3d 1182, 1188 (10th Cir. 2005); In re Elwood, 408 F.3d 211, 212 (5th
Cir. 2005); Lloyd v. United States, 407 F.3d 608, 615-16 (3rd Cir. 2005); Guzman v.
United States, 404 F.3d 139, 143-44 (2d Cir. 2005); In re Olopade, 403 F.3d 159, 164
(3rd Cir. 2005); Varela v. United States, 400 F.3d 864, 868 (11th Cir.2005); United States
v. Price, 400 F.3d 844, 845 (10th Cir. 2005); Bey v. United States, 399 F.3d 1266, 1269
(10th Cir. 2005); Humphress v. United States, 398 F.3d 855, 857 (6th Cir. 2005); Green
v. United States, 397 F.3d 101, 103 (2d Cir. 2005); McReynolds v. United States, 397
F.3d 479, 481 (7th Cir. 2005); In re Anderson, 396 F.3d 1336, 1339-40 (11th Cir. 2005).
Therefore, this portion of defendant Young’s motion is also denied.
       c.     Venue in the Northern District of Iowa
       Defendant Young also contends that his counsel was ineffective in failing to
challenge venue in the Northern District of Iowa. Defendant Young points out that most
of the transactions identified by Waters and Tix occurred in Marshalltown, Iowa, which
is in the Southern District of Iowa. He extrapolates from this that his counsel was
ineffective in failing to challenge the correctness of venue in the Northern District of Iowa.
This view of venue, however, fails to take into account clear Eighth Circuit Court of
Appeals’s precedent which holds that:
              A violation of federal law may be prosecuted “in any district
              in which such offense was begun, continued, or completed.”
              18 U.S.C. § 3237(a). “Furthermore, although separate proof
              of an overt act is not a necessary element of a drug conspiracy
              under 21 U.S.C. § 846, venue is proper in a conspiracy case
              in any jurisdiction in which an overt act in furtherance of the
              conspiracy was committed by any of the conspirators.”
              Romero, 150 F.3d at 824 (citations and internal quotations
              omitted).


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United States v. Morales, 445 F.3d 1081, 1084 (8th Cir. 2006); accord United States v.
Johnson, 462 F.3d 815, 819 (8th Cir. 2006); United States v. Romero, 150 F.3d 821, 824
(8th Cir. 1998); United States v. Bascope-Zurita, 68 F.3d 1057, 1062 (8th Cir. 1995);
United States v. Bonadonna, 775 F.2d 949, 955 (8th Cir. 1985). Here, defendant Young
stipulated that co-conspirator Waters, in furtherance of the conspiracy, traveled to
Waterloo in order to distribute methamphetamine. Because this overt act took place within
the Northern District of Iowa, venue is proper here. Therefore, this portion of defendant
Young’s motion is also denied.


                              C. Certificate Of Appealability
       Defendant Young must make a substantial showing of the denial of a constitutional
right in order to be granted a certificate of appealability in this case. See Miller-El v.
Cockrell, 123 S. Ct. 1029, 1039 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77
(8th Cir. 2000); Mills v. Norris, 187 F.3d 881, 882 n.1 (8th Cir. 1999); Carter v.
Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Ramsey v. Bowersox, 149 F.3d 749 (8th
Cir. 1998); Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997), cert. denied, 525 U .S. 834
(1998). "A substantial showing is a showing that issues are debatable among reasonable
jurists, a court could resolve the issues differently, or the issues deserve further
proceedings." Cox, 133 F.3d at 569. Moreover, the United States Supreme Court
reiterated in Miller-El that “‘[w]here a district court has rejected the constitutional claims
on the merits, the showing required to satisfy § 2253(c) is straightforward: The petitioner
must demonstrate that reasonable jurists would find the district court's assessment of the
constitutional claims debatable or wrong.’” Miller-El, 123 S. Ct. at 1040 (quoting Slack
v. McDaniel, 529 U.S. 473, 484 (2000)). The court determines that defendant Young's
petition does not present questions of substance for appellate review, and therefore, does

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not make the requisite showing to satisfy § 2253(c). See 28 U.S.C. § 2253(c)(2); FED. R.
APP. P. 22(b). With respect to defendant Young’s claims, the court shall not grant a
certificate of appealability pursuant to 28 U.S.C. § 2253(c).


                                   III. CONCLUSION
       Defendant Young’s § 2255 motion is denied, and this matter is dismissed in its
entirety. Moreover, the court determines that the petition does not present questions of
substance for appellate review. See 28 U.S.C. § 2253(c)(2); FED. R. APP. P. 22(b).
Accordingly, a certificate of appealability will not issue.
       IT IS SO ORDERED.
       DATED this 19th day of August, 2007.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 U. S. DISTRICT COURT JUDGE
                                                 NORTHERN DISTRICT OF IOWA




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